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                                        UNITED STATES DISTRICT COURT
                                               DISTRICT OF NEBRASKA
Denise M. Lucks                                 OFFICE OF THE CLERK                                          M. Therese Bollerup
Clerk of Court                                     www.ned.uscourts.gov                                       Chief Deputy Clerk



         TO:                The Honorable Judge Smith Camp

         FROM:              Clerk, U.S. District Court
                            Judy Eicher

         DATE:              March 1, 2007

         SUBJECT:           8:06CR248 USA v. Jorge Salazar-Gomez


         A party, who has already been permitted to proceed in forma pauperis, or who is financially
         unable to obtain adequate defense in a criminal case, has filed a Notice of Appeal. Pursuant to
         the third paragraph of FRAP 24(a), a party may proceed on appeal in forma pauperis without
         further authorization unless the district judge certifies that the appeal is not taken in good faith or
         finds that the party is otherwise not entitled to proceed on appeal in forma pauperis. The district
         judge shall state in writing the reasons for such a certification or finding.

         In order for the Clerk’s office to process this appeal, please advise our office how you intend to
         proceed:

                     X      No order will be entered in this direct criminal appeal, and the party is
                            permitted to proceed on appeal in forma pauperis.
                            An order will be entered finding that the party is not entitled to proceed in
                            forma pauperis.
                            An order will be entered, and the party is permitted to proceed on appeal
                            in forma pauperis.
                            An order will be entered in this § 2254 or § 2255 case regarding Certificate
                            of Appealability.

         Dated this 1st day of March, 2007.

                                                               s/Laurie Smith Camp
                                                               United States District Judge

                                  Additional Requirement for State Habeas or 2255 Cases

         Pursuant to Rule 22(b) of the Rules of Appellate Procedure and 28 U.S.C. § 2253 (c), the district
         judge who rendered the judgment shall either issue a certificate of appealability or state the
         reasons why such a certificate should not be issued.

         Transmission of the Notice of Appeal to the Court of Appeals will be delayed until this court rules
         on the in forma pauperis status and the certificate of appealability.

         Last Update: 10/4/06                                                     clerk\proc\appeals\forms\criminal ifp.frm


         111 South 18th Plaza, Suite 1152                                     100 Centennial Mall North, Room 593
         Omaha, NE 68102-1322                                                             Lincoln, NE 68508-3803
         (402) 661-7350                                                                             (402) 437-5225
         Fax: (402) 661-7387                                                                   Fax: (402) 437-5651
         Toll Free: (866) 220-4381                                                       Toll Free: (866) 220-4379
